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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 JOHN DOE,                                             )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )       No. 1:18-cv-03713-TWP-MJD
                                                       )
 INDIANA UNIVERSITY - BLOOMINGTON,                     )
                                                       )
                               Defendant.              )


                               SCHEDULING ORDER
                     HON. MAGISTRATE JUDGE MARK J. DINSMORE


        This matter is set for an in-person pretrial conference on Wednesday, December 5, 2018

 at 10:30 a.m. (Eastern), in Room 257, United States Courthouse, 46 E. Ohio Street, Indianapolis,

 Indiana, before Magistrate Judge Mark J. Dinsmore. The purpose of the conference is to discuss

 a discovery plan, briefing schedule, and to determine a date for the hearing on preliminary

 injunctive relief, as well as the estimated time required for such hearing pursuant to the Court’s

 Order. [Dkt. 21]. The parties shall appear by their counsel. Counsel for Plaintiff is ordered to serve

 a copy of this order on Defendant and file proof of such service on or before December 3, 2018.


        SO ORDERED.




        Dated: 29 NOV 2018
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